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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                              Clerk's Office − Trenton, NJ


 THE INDEPENDENCE PROJECT, INC. ,
 et al.
                                              Plaintiff,
 v.                                                        Case No.:
                                                           3:16−cv−01123−PGS−TJB
                                                           Judge Peter G. Sheridan
 UNION SQUARE CONDOMINIUM
 ASSOCIATION INC.
                                              Defendant.

                                 ORDER OF DISMISSAL


     This matter having been reported settled and the Court having administratively
 terminated the action for sixty (60) days so that the parties could submit the papers
 necessary to terminate the case, see Fed. R. Civ. P. 41(a)(1)(A)(ii), L. Civ. R. 41.1, and the
 sixty−day time period having passed without the Court having received the necessary
 papers;
      IT IS on this 19th day of December, 2016,
    ORDERED that the Clerk of the Court shall reopen the case and make a new and
 separate docket entry reading "CIVIL CASE REOPENED"; and it is further
   ORDERED that this matter be, and the same hereby is, DISMISSED WITH
 PREJUDICE, and without costs pursuant to Fed. R. Civ. P. 41(a)(2).




                     /s/ Peter G. Sheridan
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                     PETER G. SHERIDAN United States District Judge
